Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 1 of 215
          Case 2:14-cv-02057-SMM                                Document 224-8                      Filed 10/19/17                   Page 2 of 215


            Generated on: This page was generated by TSDR on 2015-06-16 16:41:03 EDT
                     Mark: JACK DANIEL'S




        US Serial Number: 71634575                                                     Application Filing Date: Aug. 28, 1952
 US Registration Number: 582789                                                              Registration Date: Nov. 24, 1953
                  Register: Principal
                Mark Type: Trademark
                    Status: The registration has been renewed.
              Status Date: Nov. 30, 2013



                                                                 Mark Information
    Mark Literal Elements: JACK DANIEL'S
Standard Character Claim: No
      Mark Drawing Type: 5 - AN ILLUSTRATION DRAWING WITH WORD(S) /LETTER(S)/ NUMBER(S) INSTYLIZED FORM

                                                    Related Properties Information
Claimed Ownership of US 0298102, 0323914, 0394017, 0394018, 0441002, 0513088
          Registrations:

                                                                Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                       For: WHISKEY
   International Class(es): 033                                                                  U.S Class(es): 049 - Primary Class
             Class Status: ACTIVE
                     Basis: 1(a)
                 First Use: 1875                                                            Use in Commerce: 1875

                                                     Basis Information (Case Level)
             Filed Use: Yes                                   Currently Use: Yes                                     Amended Use: No
             Filed ITU: No                                     Currently ITU: No                                      Amended ITU: No
             Filed 44D: No                                    Currently 44D: No                                      Amended 44D: No
             Filed 44E: No                                    Currently 44E: No                                      Amended 44E: No
             Filed 66A: No                                    Currently 66A: No
        Filed No Basis: No                              Currently No Basis: No

                                                     Current Owner(s) Information
             Owner Name: JACK DANIEL'S PROPERTIES, INC.
          Owner Address: 4040 CIVIC CENTER DRIVE
                         SUITE 528
                         SAN RAFAEL, CALIFORNIA 94903
                         UNITED STATES
        Legal Entity Type: CORPORATION                                                 State or Country Where DELAWARE
                                                                                                   Organized:

                                             Attorney/Correspondence Information
                                                                          Attorney of Record
           Attorney Name: DAVID S GOODER                                                       Docket Number: 81023739
   Attorney Primary Email jdpilegal@jdpi.com                                                    Attorney Email Yes
                Address:                                                                           Authorized:



                                                                                                                                                JDPI002586
          Case 2:14-cv-02057-SMM                      Document 224-8                    Filed 10/19/17               Page 3 of 215

                                                                  Correspondent
          Correspondent DAVID S GOODER
          Name/Address: JACK DANIEL'S PROPERTIES INC
                        4040 CIVIC CTR DR STE 528
                        SAN RAFAEL, CALIFORNIA 94903
                        UNITED STATES
                   Phone: 415 446 5225                                                         Fax: 415 446 5230
   Correspondent e-mail: jdpilegal@jdpi.com                                 Correspondent e-mail Yes
                                                                                    Authorized:
                                                      Domestic Representative - Not Found

                                                      Prosecution History
                                                                                                                                  Proceeding
  Date                     Description
                                                                                                                                  Number

Nov. 30, 2013           NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Nov. 30, 2013           REGISTERED AND RENEWED (SECOND RENEWAL - 10 YRS)                                                       67603
Nov. 30, 2013           REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED                                                    67603
Nov. 12, 2013           REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED                                                 67603
Nov. 29, 2013           CASE ASSIGNED TO POST REGISTRATION PARALEGAL                                                           67603
Nov. 12, 2013           TEAS SECTION 8 & 9 RECEIVED
Feb. 20, 2013           NOTICE OF SUIT
Mar. 15, 2012           NOTICE OF SUIT
Dec. 22, 2010           NOTICE OF SUIT
Jan. 08, 2010           NOTICE OF SUIT
Oct. 21, 2008           CASE FILE IN TICRS
Oct. 06, 2003           REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)
Oct. 06, 2003           REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Jul. 14, 2003           REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED
Jul. 14, 2003           TEAS SECTION 8 & 9 RECEIVED
Jul. 16, 2002           TEAS CHANGE OF CORRESPONDENCE RECEIVED
Jul. 13, 1993           REGISTERED AND RENEWED (SECOND RENEWAL - 10 YRS)
Jun. 02, 1993           REGISTERED - SEC. 9 FILED/CHECK RECORD FOR SEC. 8
Nov. 24, 1973           REGISTERED AND RENEWED (FIRST RENEWAL - 20 YRS)
                            Maintenance Filings or Post Registration Information
   Affidavit of Continued Section 8 - Accepted
                     Use:
               Affidavit of Section 15 - Accepted
          Incontestability:
           Renewal Date: Nov. 24, 2013

                                             TM Staff and Location Information
                                                            TM Staff Information - None
                                                                   File Location
         Current Location: GENERIC WEB UPDATE                                      Date in Location: Nov. 30, 2013

                                       Assignment Abstract Of Title Information
  Summary
      Total Assignments: 7                                                              Registrant: JACK DANIEL DISTILLERY, LEM MOTLOW,
                                                                                                    PROP., INC.
                                                    Assignment 1 of 7
             Conveyance: ASSIGNS THE ENTIRE INTEREST, TOGETHER WITH THE GOOD WILL OF THE BUSINESS IN WHICH SAID MARK IS USED.
              Reel/Frame: 0021/0535                                                          Pages: 0
          Date Recorded: Sep. 27, 1956
  Supporting Documents: No Supporting Documents Available




                                                                                                                                JDPI002587
        Case 2:14-cv-02057-SMM                        Document 224-8                Filed 10/19/17              Page 4 of 215

                                                                   Assignor
                Name: DANIEL, JACK, DISTILLERY, LEM MOTLOW,                     Execution Date: Sep. 17, 1956
                      PROP., INC., CHARTERED IN 1939.
      Legal Entity Type: CORPORATION                                    State or Country Where TENNESSEE
                                                                                    Organized:
                                                                   Assignee
                Name: DANIEL, JACK, DISTILLERY, LEM MOTLOW, PROP., INC., CHARTERED IN 1956.
      Legal Entity Type: CORPORATION                                    State or Country Where TENNESSEE
                                                                                    Organized:
              Address: LYNCHBURG, TENNESSEE
                                                                Correspondent
  Correspondent Name:
Correspondent Address: No Correspondent Address Found
                                                      Domestic Representative - Not Found
                                                            Assignment 2 of 7
          Conveyance: ASSIGNS THE ENTIRE INTEREST AND THE GOODWILL
           Reel/Frame: 0440/0764                                                        Pages: 2
        Date Recorded: May 17, 1983
Supporting Documents: No Supporting Documents Available
                                                                   Assignor
                Name: JACK DANIEL DISTILLERY, LEM MOTLOW,                       Execution Date: May 02, 1983
                      PROP., INC.
      Legal Entity Type: UNKNOWN                                        State or Country Where No Place Where Organized Found
                                                                                    Organized:
                                                                   Assignee
                Name: BLUE GRASS COOPERAGE COMPANY, INC.
      Legal Entity Type: UNKNOWN                                        State or Country Where No Place Where Organized Found
                                                                                    Organized:
              Address: 850 DIXIE HIGHWAY
                       LOUISVILLE, KENTUCKY 40210
                                                                Correspondent
  Correspondent Name: BEVERIDGE, DE GRANDI, ET AL.
Correspondent Address: 1819 H ST., N.W.
                       WASHINGTON, DC 20006
                                                      Domestic Representative - Not Found
                                                            Assignment 3 of 7
          Conveyance: CHANGE OF NAME 19830502
           Reel/Frame: 0447/0579                                                        Pages: 4
        Date Recorded: Aug. 10, 1983
Supporting Documents: No Supporting Documents Available
                                                                   Assignor
                Name: BLUE GRASS COOPERAGE COMPANY, INC.                        Execution Date: Jun. 10, 1983
      Legal Entity Type: UNKNOWN                                        State or Country Where No Place Where Organized Found
                                                                                    Organized:
                                                                   Assignee
                Name: JACK DANIEL DISTILLERY, LEM MOTLOW PROP. INC.
      Legal Entity Type: UNKNOWN                                        State or Country Where No Place Where Organized Found
                                                                                    Organized:
              Address: No Assignee Address Found
                                                                Correspondent
  Correspondent Name: BEVERIDGE, DEGRANDI, ET AL.
Correspondent Address: SUITE 1100, 1819 H ST., N.W.
                       WASHINGTON, DC 20006
                                                      Domestic Representative - Not Found
                                                            Assignment 4 of 7
          Conveyance: CHANGE OF NAME
           Reel/Frame: 1763/0446                                                        Pages: 5
        Date Recorded: Aug. 06, 1998
Supporting Documents: assignment-tm-1763-0446.pdf




                                                                                                                                JDPI002588
       Case 2:14-cv-02057-SMM                       Document 224-8                Filed 10/19/17              Page 5 of 215

                                                                 Assignor
                Name: JACK DANIEL DISTILLERY, LEM MOTLOW,                     Execution Date: Apr. 10, 1998
                      PROP., INC.
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
                                                                 Assignee
                Name: JDDLMP, INC.
     Legal Entity Type: CORPORATION                                   State or Country Where DELAWARE
                                                                                  Organized:
              Address: HIGHWAY 55
                       LYNCHBURG, TENNESSEE 37352
                                                              Correspondent
  Correspondent Name: JACK DANIEL'S PROPERTIES, INC.
Correspondent Address: DAVID S. GOODER, ESQ.
                       4040 CIVIC CENTER DRIVE, SUITE 528
                       SAN RAFAEL, CALIFORNIA 94903
                                                    Domestic Representative - Not Found
                                                          Assignment 5 of 7
          Conveyance: RECORD TO CORRECT STATE OF INCORPORATION OF RECEIVING PARTY ON A CHANGE OF NAME DOCUMENT
                      PREVIOUSLY RECORDED AT 1763/0446.
           Reel/Frame: 3124/0940                                                      Pages: 8
        Date Recorded: Jul. 20, 2005
Supporting Documents: assignment-tm-3124-0940.pdf
                                                                 Assignor
                Name: JACK DANIEL DISTILLERY, LEM MOTLOW,                     Execution Date: Apr. 10, 1998
                      PROP., INC.
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
                                                                 Assignee
                Name: JDDLMP, INC.
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
              Address: HIGHWAY 55
                       LYNCHBURG, TENNESSEE 37352
                                                              Correspondent
  Correspondent Name: DAVID S. GOODER
Correspondent Address: 4040 CIVIC CENTER DRIVE
                       SUITE 528
                       SAN RAFAEL, CA 94903
                                                    Domestic Representative - Not Found
                                                          Assignment 6 of 7
          Conveyance: MERGER
           Reel/Frame: 1764/0836                                                      Pages: 4
        Date Recorded: Aug. 06, 1998
Supporting Documents: assignment-tm-1764-0836.pdf
                                                                 Assignor
                Name: JDDLMP, INC.                                            Execution Date: Apr. 20, 1998
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
DBA, AKA, TA, Formerly: FORMERLY JACK DANIEL DISTILLERY, LEM
                        MOTLOW, PROP., INC.
                                                                 Assignee
                Name: JACK DANIEL'S PROPERTIES, INC.
     Legal Entity Type: CORPORATION                                   State or Country Where DELAWARE
                                                                                  Organized:
              Address: 4040 CIVIC CENTER DRIVE, SUITE 528
                       SAN RAFAEL, CALIFORNIA 94903
                                                              Correspondent
  Correspondent Name: JACK DANIEL'S PROPERTIES, INC.
Correspondent Address: DAVID S. GOODER, ESQ.
                       4040 CIVIC CENTER DRIVE, SUITE 528
                       SAN RAFAEL, CA 94903




                                                                                                                         JDPI002589
           Case 2:14-cv-02057-SMM                         Document 224-8                  Filed 10/19/17              Page 6 of 215

                                                          Domestic Representative - Not Found
                                                                Assignment 7 of 7
             Conveyance: DUPLICATE RECORDING, SEE RECORDING AT REEL 1764, FRAME 0836.
              Reel/Frame: 1766/0385                                                            Pages: 4
           Date Recorded: Aug. 05, 1998
  Supporting Documents: assignment-tm-1766-0385.pdf
                                                                       Assignor
                   Name: JDDLMP, INC.                                                 Execution Date: Apr. 20, 1998
         Legal Entity Type: LIMITED PARTNERSHIP                               State or Country Where KENTUCKY
                                                                                          Organized:
 DBA, AKA, TA, Formerly: FORMERLY JACK DANIEL DISTILLERY, LEM
                         MOTLOW, PROP., INC.
                                                                       Assignee
                   Name: JACK DANIEL'S PROPERTIES, INC.
         Legal Entity Type: CORPORATION                                       State or Country Where DELAWARE
                                                                                          Organized:
                 Address: 4040 CIVIC CENTER DRIVE, SUITE 528
                          SAN RAFAEL, CALIFORNIA 94903
                                                                     Correspondent
    Correspondent Name: JACK DANIEL'S PROPERTIES, INC.
 Correspondent Address: DAVID S. GOODER, ESQ.
                        4040 CIVIC CENTER DRIVE
                        SUITE 528
                        SAN RAFAEL, CALIFORNIA 94903
                                                          Domestic Representative - Not Found

                                                                Proceedings
  Summary
  Number of Proceedings: 9
                                                Type of Proceeding: Opposition
       Proceeding Number: 91201683                                                        Filing Date: Sep 19, 2011
                   Status: Terminated                                                    Status Date: May 01, 2012
   Interlocutory Attorney: YONG OH (RICHARD) KIM
                                                                      Defendant
                   Name: Alvaro Santoscoy Padilla
 Correspondent Address: IGNACIO MARTINEZ GONZALEZ
                        RICARDO PALMA 2744 , LOMAS DE GUEVARA
                        GUADALAJARA JALISCO , 44657
                        MEXICO
   Correspondent e-mail: ignacio.martinez@megared.net.mx
Associated marks
                                                                                                                        Serial         Registration
  Mark                                                         Application Status
                                                                                                                        Number         Number
BILLY JACK                                                  Abandoned - After Inter-Partes Decision                   85214774
                                                                      Plaintiff(s)
                   Name: Jack Daniel's Properties, Inc.
 Correspondent Address: CHRISTOPHER C LARKIN
                        SEYFARTH SHAW
                        2029 CENTURY PARK EAST , SUITE 3500
                        LOS ANGELES CA , 90067-3063
                        UNITED STATES
   Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                                  Registration
  Mark                                                                                Application Status     Serial Number
                                                                                                                                  Number
JACK DANIEL'S                                                                        Renewed               71634575              582789
JACK DANIEL'S                                                                        Renewed               74575005              1923981
JACK DANIEL'S                                                                        Renewed               74290193              1758658
JACK                                                                                 Renewed               75463656              2815221
                                                                 Prosecution History




                                                                                                                                      JDPI002590
           Case 2:14-cv-02057-SMM                          Document 224-8                   Filed 10/19/17               Page 7 of 215

    Entry
                    History Text                                                     Date                                                   Due Date
    Number

1                FILED AND FEE                                                Sep 19, 2011
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                     Sep 20, 2011                                                Oct 30, 2011
3                PENDING, INSTITUTED                                          Sep 20, 2011
4                NOTICE OF DEFAULT                                            Nov 14, 2011
5                P'S NOTICE OF INEFFECTIVE SERVICE                            Nov 16, 2011
6                UNDELIVERABLE MAIL                                           Nov 16, 2011
7                SUSPENDED                                                    Dec 21, 2011
8                UNDELIVERABLE MAIL                                           Jan 05, 2012
9                SERVICE BY PUBLICATION                                       Mar 13, 2012
10               BOARD'S DECISION: SUSTAINED                                  May 01, 2012
11               TERMINATED                                                   May 01, 2012
                                                           Type of Proceeding: Opposition
       Proceeding Number: 91196712                                                          Filing Date: Sep 29, 2010
                   Status: Terminated                                                       Status Date: Aug 03, 2011
     Interlocutory Attorney: GEORGE POLOGEORGIS
                                                                      Defendant
                    Name: JACK BLACK INTERNATIONAL INC.
    Correspondent Address: JACK BLACK INTERNAT; JACK BLACK INTERNAT
                           5422 YEW ST. VANCOUVER
                           VANCOUVER, B.C. V6M3X8 CANADA
     Correspondent e-mail: mrosenberg@sillscummis.com , pto@sillscummis.com
Associated marks
                                                                                                                                       Registration
    Mark                                                                                Application Status     Serial Number
                                                                                                                                       Number
JACK BLACK                                                                            Registered             77904312                4625149
                                                                      Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C. LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST, SUITE 3500
                           LOS ANGELES CA , 90067-3021
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com
Associated marks
                                                                                                                            Serial          Registration
    Mark                                                        Application Status
                                                                                                                            Number          Number
JACK DANIEL'S                                                 Renewed                                                    71634575         582789
JACK DANIEL'S                                                 Renewed                                                    74575005         1923981
JACK DANIEL'S                                                 Renewed                                                    74290193         1758658
JACK                                                          Renewed                                                    75463656         2815221
YOU CAN ASK FOR JACK ANYWHERE                                 Cancelled - Section 8                                      76251627         2633168
JACK LIVES HERE                                               Renewed                                                    76017011         2572051
GENTLEMAN JACK                                                Renewed                                                    73754322         1538377
THE MELLOWER SIDE OF JACK                                     Cancelled - Section 8                                      77071413         3305834
                                                              Section 8 and 15 - Accepted and
BLACK JACK                                                                                                               78231578         3259938
                                                              Acknowledged
                                                                  Prosecution History
    Entry
                    History Text                                                     Date                                 Due Date
    Number

1                FILED AND FEE                                                Sep 29, 2010
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                     Sep 30, 2010                              Nov 09, 2010
3                PENDING, INSTITUTED                                          Sep 30, 2010
4                STIPULATION FOR AN EXTENSION OF TIME                         Oct 29, 2010



                                                                                                                                           JDPI002591
            Case 2:14-cv-02057-SMM                         Document 224-8                   Filed 10/19/17              Page 8 of 215

5                EXTENSION OF TIME GRANTED                                     Oct 29, 2010
6                STIPULATION FOR AN EXTENSION OF TIME                          Dec 07, 2010
7                EXTENSION OF TIME GRANTED                                     Dec 07, 2010
8                STIPULATION FOR AN EXTENSION OF TIME                          Jan 04, 2011
9                EXTENSION OF TIME GRANTED                                     Jan 04, 2011
10               STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                       Feb 08, 2011
11               SUSPENDED                                                     Feb 08, 2011
12               STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                       Apr 12, 2011
13               SUSPENDED                                                     Apr 12, 2011
14               STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                       May 09, 2011
15               SUSPENDED                                                     May 09, 2011
16               STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                       Jun 07, 2011
17               SUSPENDED                                                     Jun 07, 2011
18               AMDT OF SERIAL NO. 77904312 AND W/D OF OPP                    Jun 17, 2011
19               BD'S DECISION: DISMISSED W/ PREJUDICE                         Jul 08, 2011
20               TERMINATED                                                    Aug 03, 2011
                                                           Type of Proceeding: Opposition
       Proceeding Number: 91196371                                                          Filing Date: Sep 03, 2010
                   Status: Terminated                                                      Status Date: Nov 26, 2012
     Interlocutory Attorney: MARY CATHERINE FAINT
                                                                       Defendant
                    Name: Mark Anthony International SRL
    Correspondent Address: DAVID H BERNSTEIN
                           DEBEVOISE PLIMPTON LLP
                           919 THIRD AVENUE
                           NEW YORK NY , 10022
                           UNITED STATES
     Correspondent e-mail: dhbernstein@debevoise.com , mifleisc@debevoise.com , jhamid@debevoise.com , akelly@debevoise.com , trademarks@debevoise.c
                           om
Associated marks
                                                                                                                                    Registration
    Mark                                                                                Application Status     Serial Number
                                                                                                                                    Number
CAYMAN JACK                                                                           Registered             77850939              4584632
                                                                       Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST, SUITE 3500
                           LOS ANGELES CA , 90067 3021
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                          Serial         Registration
    Mark                                                        Application Status
                                                                                                                          Number         Number
JACK DANIEL'S                                                 Renewed                                                   71634575       582789
JACK DANIEL'S                                                 Renewed                                                   74575005       1923981
JACK DANIEL'S                                                 Renewed                                                   74290193       1758658
JACK                                                          Renewed                                                   75463656       2815221
YOU CAN ASK FOR JACK ANYWHERE                                 Cancelled - Section 8                                     76251627       2633168
JACK LIVES HERE                                               Renewed                                                   76017011       2572051
GENTLEMAN JACK                                                Renewed                                                   73754322       1538377
                                                              Section 8 and 15 - Accepted and
BLACK JACK                                                                                                              78231578       3259938
                                                              Acknowledged
THE MELLOWER SIDE OF JACK                                     Cancelled - Section 8                                     77071413       3305834
                                                                  Prosecution History
    Entry



                                                                                                                                        JDPI002592
           Case 2:14-cv-02057-SMM                            Document 224-8                  Filed 10/19/17              Page 9 of 215

                    History Text                                                      Date                                            Due Date
    Number

1                FILED AND FEE                                                 Sep 03, 2010
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Sep 03, 2010                                         Oct 13, 2010
3                PENDING, INSTITUTED                                           Sep 03, 2010
4                CHANGE OF CORRESPONDENCE ADDRESS                              Sep 04, 2010
5                D'S MOT FOR EXTEN. OF TIME W/ CONSENT                         Sep 10, 2010
6                EXTENSION OF TIME GRANTED                                     Sep 10, 2010
7                D'S MOT FOR EXTEN. OF TIME W/ CONSENT                         Nov 11, 2010
8                EXTENSION OF TIME GRANTED                                     Nov 11, 2010
9                D'S MOT FOR EXTEN. OF TIME W/ CONSENT                         Dec 10, 2010
10               EXTENSION OF TIME GRANTED                                     Dec 10, 2010
11               ANSWER                                                        Feb 10, 2011
12               D'S MOT FOR EXTEN. OF TIME W/ CONSENT                         Mar 09, 2011
13               BOARD'S ORDER TRIAL DATES REMAIN AS SET                       Mar 16, 2011
14               D'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                      Mar 17, 2011
15               SUSPENDED                                                     Mar 17, 2011
16               D'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                      Apr 21, 2011
17               SUSPENDED                                                     Apr 21, 2011
18               D'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                      Jun 30, 2011
19               SUSPENDED                                                     Jul 01, 2011
20               D'S MOT FOR EXTEN. OF TIME W/ CONSENT                         Dec 17, 2011
21               EXTENSION OF TIME GRANTED                                     Dec 17, 2011
22               STIP TO SUSPEND PEND DISP CIV ACTION                          Apr 03, 2012
23               SUSPENDED                                                     Apr 03, 2012
24               STIPULATION TO DISMISS OPPOSITION                             Nov 19, 2012
25               BD'S DECISION: DISMISSED W/ PREJUDICE                         Nov 26, 2012
26               TERMINATED                                                    Nov 26, 2012
                                                           Type of Proceeding: Cancellation
       Proceeding Number: 92052390                                                           Filing Date: Apr 29, 2010
                   Status: Terminated                                                        Status Date: Dec 17, 2010
     Interlocutory Attorney: ELIZABETH WINTER
                                                                       Defendant
                    Name: Dinoco International Corporation
    Correspondent Address: DINOCO INTERNATIONAL CORPORATION
                           2351 COLLEGE STATION ROAD, SUITE 422
                           ATHENS GA , 30605
                           UNITED STATES
Associated marks
                                                                                                                          Serial      Registration
    Mark                                                         Application Status
                                                                                                                          Number      Number
JACK'S                                                        Cancelled - Section 18                                     77371261   3530231
                                                                       Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST, SUITE 3500
                           LOS ANGELES CA , 90067-3021
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                          Serial      Registration
    Mark                                                         Application Status
                                                                                                                          Number      Number
JACK DANIEL'S                                                 Renewed                                                    71634575   582789
JACK DANIEL'S                                                 Renewed                                                    74575005   1923981



                                                                                                                                     JDPI002593
           Case 2:14-cv-02057-SMM                          Document 224-8                    Filed 10/19/17              Page 10 of 215

JACK DANIEL'S                                                 Renewed                                                    74290193   1758658
JACK                                                          Renewed                                                    75463656   2815221
YOU CAN ASK FOR JACK ANYWHERE                                 Cancelled - Section 8                                      76251627   2633168
JACK LIVES HERE                                               Renewed                                                    76017011   2572051
GENTLEMAN JACK                                                Renewed                                                    73754322   1538377
                                                              Section 8 and 15 - Accepted and
BLACK JACK                                                                                                               78231578   3259938
                                                              Acknowledged
THE MELLOWER SIDE OF JACK                                     Cancelled - Section 8                                      77071413   3305834
                                                                  Prosecution History
    Entry
                    History Text                                                      Date                                            Due Date
    Number

1                FILED AND FEE                                                 Apr 29, 2010
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Apr 29, 2010                                         Jun 08, 2010
3                PENDING, INSTITUTED                                           Apr 29, 2010
4                UNDELIVERABLE MAIL                                            May 19, 2010
5                P'S NOTICE OF INEFFECTIVE SERVICE                             Jul 12, 2010
6                SUSPENDED                                                     Sep 17, 2010
7                SERVICE BY PUBLICATION                                        Oct 19, 2010
8                BOARD'S DECISION: GRANTED                                     Dec 03, 2010
                 COMMISSIONER'S ORDER CANCELLING THE
9                REGISTRATION                                                  Dec 17, 2010
10               TERMINATED                                                    Dec 17, 2010
                                                           Type of Proceeding: Opposition
       Proceeding Number: 91194636                                                           Filing Date: Apr 16, 2010
                   Status: Terminated                                                        Status Date: May 09, 2011
     Interlocutory Attorney: YONG OH (RICHARD) KIM
                                                                       Defendant
                    Name: JAKK'D Holdings, LLC
    Correspondent Address: ANTHONY R MASIELLO
                           HOLLAND & KNIGHT LLP
                           2099 PENNSYLVANIA AVENUE, NW
                           WASHINGTON DC , 20006
                           UNITED STATES
     Correspondent e-mail: anthony.masiello@hklaw.com , scott.petersen@hklaw.com
Associated marks
                                                                                                                           Serial     Registration
    Mark                                                        Application Status
                                                                                                                           Number     Number
JAKK'D                                                        Abandoned - After Inter-Partes Decision                    77851838
                                                                       Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C. LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST , SUITE 3500
                           LOS ANGELES CA , 90067-3021
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                           Serial     Registration
    Mark                                                        Application Status
                                                                                                                           Number     Number
JACK DANIEL'S                                                 Renewed                                                    71634575   582789
JACK DANIEL'S                                                 Renewed                                                    74575005   1923981
JACK DANIEL'S                                                 Renewed                                                    74290193   1758658
JACK                                                          Renewed                                                    75463656   2815221
YOU CAN ASK FOR JACK ANYWHERE                                 Cancelled - Section 8                                      76251627   2633168
JACK LIVES HERE                                               Renewed                                                    76017011   2572051
GENTLEMAN JACK                                                Renewed                                                    73754322   1538377



                                                                                                                                     JDPI002594
           Case 2:14-cv-02057-SMM                          Document 224-8                   Filed 10/19/17              Page 11 of 215

                                                              Section 8 and 15 - Accepted and
BLACK JACK                                                                                                              78231578   3259938
                                                              Acknowledged
THE MELLOWER SIDE OF JACK                                     Cancelled - Section 8                                     77071413   3305834
                                                                  Prosecution History
    Entry
                    History Text                                                     Date                                            Due Date
    Number

1                FILED AND FEE                                                Apr 16, 2010
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                     Apr 26, 2010                                         Jun 05, 2010
3                PENDING, INSTITUTED                                          Apr 26, 2010
4                STIPULATION FOR AN EXTENSION OF TIME                         Jun 01, 2010
5                EXTENSION OF TIME GRANTED                                    Jun 11, 2010
6                ANSWER                                                       Jun 28, 2010
7                OPP'S MOT FOR JUDGMENT ON THE PLEADINGS                      Jul 19, 2010
8                SUSPENDED PENDING DISP OF OUTSTNDNG MOT                      Jul 22, 2010
9                CHANGE OF CORRESPONDENCE ADDRESS                             Aug 06, 2010
10               D'S OPPOSITION/RESPONSE TO MOTION                            Aug 06, 2010
11               P'S REPLY IN SUPPORT OF MOTION                               Aug 10, 2010
12               BOARD'S DECISION: SUSTAINED                                  May 09, 2011
13               TERMINATED                                                   May 09, 2011
                                                           Type of Proceeding: Opposition
       Proceeding Number: 91193150                                                          Filing Date: Dec 23, 2009
                   Status: Terminated                                                       Status Date: Aug 01, 2011
     Interlocutory Attorney: ELIZABETH WINTER
                                                                      Defendant
                    Name: White Rock Distilleries, Inc.
    Correspondent Address: DANIEL I SCHLOSS
                           GREENBERG TRAURIG LLP
                           200 PARK AVENUE, 34TH FLOOR
                           NEW YORK NY , 10166-0005
                           UNITED STATES
     Correspondent e-mail: schlossd@gtlaw.com
Associated marks
                                                                                                                          Serial     Registration
    Mark                                                        Application Status
                                                                                                                          Number     Number
COCONUT JACK                                                  Abandoned - After Inter-Partes Decision                   77323510
                                                                      Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST, SUITE 3500
                           LOS ANGELES CA , 90067-3021
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com
Associated marks
                                                                                                                          Serial     Registration
    Mark                                                        Application Status
                                                                                                                          Number     Number
JACK DANIEL'S                                                 Renewed                                                   71634575   582789
JACK DANIEL'S                                                 Renewed                                                   74575005   1923981
JACK DANIEL'S                                                 Renewed                                                   74290193   1758658
JACK                                                          Renewed                                                   75463656   2815221
YOU CAN ASK FOR JACK ANYWHERE                                 Cancelled - Section 8                                     76251627   2633168
JACK LIVES HERE                                               Renewed                                                   76017011   2572051
WILDBERRY JACK                                                Cancelled - Section 8                                     75701466   2737064
GENTLEMAN JACK                                                Renewed                                                   73754322   1538377
CITRUS JACK SPLASH                                            Cancelled - Section 8                                     78377954   3124374
                                                              Section 8 and 15 - Accepted and


                                                                                                                                    JDPI002595
           Case 2:14-cv-02057-SMM                           Document 224-8                      Filed 10/19/17              Page 12 of 215

BLACK JACK                                                                                                                   78231578      3259938
                                                               Acknowledged
THE MELLOWER SIDE OF JACK                                      Cancelled - Section 8                                         77071413      3305834
                                                                      Prosecution History
    Entry
                     History Text                                                        Date                                 Due Date
    Number

1                 FILED AND FEE                                                   Dec 23, 2009
2                 NOTICE AND TRIAL DATES SENT; ANSWER DUE:                        Dec 23, 2009                              Feb 01, 2010
3                 PENDING, INSTITUTED                                             Dec 23, 2009
4                 ANSWER                                                          Feb 01, 2010
5                 ANSWER                                                          Feb 03, 2010
6                 D'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                        Jul 15, 2010
7                 EXTENSION OF TIME GRANTED                                       Jul 15, 2010
8                 D'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                        Oct 05, 2010
9                 EXTENSION OF TIME GRANTED                                       Oct 05, 2010
10                P'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                        Nov 30, 2010
11                SUSPENDED                                                       Dec 01, 2010
12                WITHDRAWAL OF OPPOSITION                                        Jul 21, 2011
13                BD'S DECISION: DISMISSED W/ PREJUDICE                           Aug 01, 2011
14                TERMINATED                                                      Aug 01, 2011
                                                            Type of Proceeding: Opposition
       Proceeding Number: 91187024                                                              Filing Date: Oct 17, 2008
                    Status: Terminated                                                          Status Date: Mar 28, 2009
     Interlocutory Attorney: ELIZABETH WINTER
                                                                          Defendant
                     Name: Osez Vous? International Spirits, LLC.
    Correspondent Address: Michael J. Leonard
                           Pepper Hamilton LLP
                           3000 Two Logan Square, 18th and Arch Streets
                           Philadelphia PA , 19103-2799
                           UNITED STATES
      Correspondent e-mail: leonardm@pepperlaw.com
Associated marks
                                                                                                                                Serial      Registration
    Mark                                                            Application Status
                                                                                                                                Number      Number
SLAPJACK                                                       Abandoned - After Inter-Partes Decision                       77357629
                                                                          Plaintiff(s)
                     Name: Jack Daniel's Properties, Inc.
    Correspondent Address: Christopher C. Larkin
                           Seyfarth Shaw LLP
                           2029 Century Park East Suite 3300
                           Los Angeles CA , 90067-3063
                           UNITED STATES
      Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                                Serial      Registration
    Mark                                                            Application Status
                                                                                                                                Number      Number
JACK DANIEL'S                                                  Cancelled - Section 8                                         71525555      441002
JACK DANIEL'S                                                  Renewed                                                       71634575      582789
JACK DANIEL'S                                                  Renewed                                                       74575005      1923981
JACK DANIEL'S                                                  Renewed                                                       74290193      1758658
JACK                                                           Renewed                                                       75463656      2815221
CRANBERRY JACK                                                 Cancelled - Section 8                                         76298797      2685620
YOU CAN ASK FOR JACK ANYWHERE                                  Cancelled - Section 8                                         76251627      2633168
THE OTHERS DON'T HAVE JACK                                     Cancelled - Section 8                                         76225527      2602686
JACK FREEZE                                                    Cancelled - Section 8                                         76119652      2597077


                                                                                                                                           JDPI002596
            Case 2:14-cv-02057-SMM                          Document 224-8                    Filed 10/19/17              Page 13 of 215

JACK LIVES HERE                                                Renewed                                                      76017011     2572051
WILDBERRY JACK                                                 Cancelled - Section 8                                        75701466     2737064
BLACKBERRY JACK                                                Renewed                                                      74493657     1883860
GENTLEMAN JACK                                                 Renewed                                                      73754322     1538377
UNCLE JACK'S                                                   Renewed                                                      72306913     879607
                                                                   Prosecution History
     Entry
                     History Text                                                      Date                                 Due Date
     Number

1                 FILED AND FEE                                                 Oct 17, 2008
2                 NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Oct 17, 2008                              Nov 26, 2008
3                 PENDING, INSTITUTED                                           Oct 17, 2008
4                 NOTICE OF DEFAULT                                             Dec 11, 2008
5                 D'S APPEARANCE OF COUNSEL/POWER OF ATTORNEY                   Dec 17, 2008
6                 D'S RESPONSE TO BOARD ORDER/INQUIRY                           Dec 17, 2008
7                 TRIAL DATES RESET                                             Dec 22, 2008
8                 NOTICE OF DEFAULT                                             Feb 11, 2009
9                 NOTICE OF DEFAULT                                             Feb 11, 2009
10                BOARD'S DECISION: SUSTAINED                                   Mar 28, 2009
11                TERMINATED                                                    Mar 28, 2009
                                                            Type of Proceeding: Opposition
       Proceeding Number: 91185268                                                            Filing Date: Jul 17, 2008
                    Status: Terminated                                                        Status Date: May 11, 2009
     Interlocutory Attorney: ROBERT COGGINS
                                                                        Defendant
                     Name: Hooked Industries, LLC
    Correspondent Address: Maria Mann
                           Michael Anthony Castillo
                           Hooked Industries Inc., 48901 US Highway 93; Suite A, PMB 444
                           Polson MT , 59860-8547
                           UNITED STATES
Associated marks
                                                                                                                              Serial      Registration
     Mark                                                        Application Status
                                                                                                                              Number      Number
JD                                                             Abandoned - After Inter-Partes Decision                      77255777
                                                                        Plaintiff(s)
                     Name: Jack Daniel's Properties, Inc.
    Correspondent Address: Christopher C. Larkin
                           Seyfarth Shaw LLP
                           2029 Century Park EastSuite 3300
                           Los Angeles CA , 90067-3063
                           UNITED STATES
      Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                              Serial      Registration
     Mark                                                        Application Status
                                                                                                                              Number      Number
JACK DANIEL'S                                                  Cancelled - Section 8                                        71525555     441002
JACK DANIEL'S                                                  Renewed                                                      71634575     582789
JACK DANIEL'S                                                  Renewed                                                      74575005     1923981
JACK DANIEL'S                                                  Renewed                                                      74290193     1758658
JACK DANIEL'S                                                  Renewed                                                      74509373     1878804
JD                                                             Cancelled - Section 8                                        77188716     3509482
JD                                                             Cancelled - Section 8                                        77188676     3509481
                                                                   Prosecution History
     Entry
                     History Text                                                      Date                                 Due Date
     Number

1                 FILED AND FEE                                                 Jul 17, 2008


                                                                                                                                         JDPI002597
           Case 2:14-cv-02057-SMM                           Document 224-8                    Filed 10/19/17              Page 14 of 215

2                 NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Jul 17, 2008                              Aug 26, 2008
3                 PENDING, INSTITUTED                                           Jul 17, 2008
4                 ANSWER                                                        Aug 25, 2008
5                 P'S MOTION TO STRIKE                                          Sep 16, 2008
6                 D'S OPPOSITION/RESPONSE TO MOTION                             Oct 07, 2008
7                 STIPULATION FOR AN EXTENSION OF TIME                          Oct 24, 2008
8                 MOT STRIKE GRANTED; EXT GRANTED                               Jan 06, 2009
9                 D'S REQUEST TO WITHDRAW AS ATTORNEY                           Jan 14, 2009
10                DEF'S AMENDMENT TO MOT TO WITHDRAW AS COUNSEL                 Jan 20, 2009
11                RESPONSE DUE 30 DAYS (DUE DATE)                               Feb 04, 2009                              Mar 06, 2009
12                RESPONSE DUE 30 DAYS (DUE DATE)                               Mar 25, 2009                              Apr 24, 2009
13                BOARD'S DECISION: SUSTAINED                                   May 11, 2009
14                TERMINATED                                                    May 11, 2009
                                                            Type of Proceeding: Opposition
       Proceeding Number: 91179740                                                            Filing Date: Sep 27, 2007
                    Status: Terminated                                                        Status Date: Jan 14, 2008
     Interlocutory Attorney: BRIAN D BROWN
                                                                        Defendant
                     Name: NHA, INC.
    Correspondent Address: NHA, INC.
                           2014 FORD RD UNIT 9-I
                           BRISTOL PA , 19007-6743
                           UNITED STATES
      Correspondent e-mail: thomaskang@aol.com
Associated marks
                                                                                                                              Serial      Registration
    Mark                                                          Application Status
                                                                                                                              Number      Number
JACK'S RESERVE                                                  Abandoned - After Inter-Partes Decision                     77042917
                                                                        Plaintiff(s)
                     Name: Jack Daniel's Properties, Inc.
    Correspondent Address: Christopher C. Larkin
                           Seyfarth Shaw LLP
                           2029 Century Park East, Suite 3300
                           LOS ANGELES CA , 90067-3063
                           UNITED STATES
      Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                              Serial      Registration
    Mark                                                          Application Status
                                                                                                                              Number      Number
JACK DANIEL'S                                                   Cancelled - Section 8                                       71525555     441002
JACK DANIEL'S                                                   Renewed                                                     71634575     582789
JACK DANIEL'S                                                   Renewed                                                     74575005     1923981
                                                                Section 8 and 15 - Accepted and
JACK DANIEL'S OLD NO. 7 BRAND TENNESSEE WHISKEY                                                                             78569421     3055287
                                                                Acknowledged
JACK DANIEL'S OLD NO.7 BRAND                                    Renewed                                                     76034872     2625959
JACK DANIEL'S                                                   Renewed                                                     75035161     2026933
JACK                                                            Renewed                                                     75463656     2815221
                                                                    Prosecution History
    Entry
                     History Text                                                      Date                                 Due Date
    Number

1                 FILED AND FEE                                                 Sep 27, 2007
2                 NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Sep 27, 2007                              Nov 06, 2007
3                 PENDING, INSTITUTED                                           Sep 27, 2007
4                 NOTICE OF DEFAULT                                             Nov 29, 2007
5                 BOARD'S DECISION: SUSTAINED                                   Jan 14, 2008



                                                                                                                                         JDPI002598
    Case 2:14-cv-02057-SMM   Document 224-8    Filed 10/19/17   Page 15 of 215

6      TERMINATED                       Jan 14, 2008




                                                                           JDPI002599
       Case 2:14-cv-02057-SMM                   Document 224-8              Filed 10/19/17          Page 16 of 215




From:              TMOfficialNotices@USPTO.GOV
Sent:              Saturday, November 30, 2013 11:01 PM
To:                jdpilegal@jdpi.com
Subject:           Trademark RN 0582789: Official Notice of Acceptance and Renewal under Sections 8 and 9 of the
                   Trademark Act


Serial Number: 71634575
Registration Number: 0582789
Registration Date: Nov 24, 1953
Mark: JACK DANIEL'S(STYLIZED/DESIGN)
Owner: JACK DANIEL'S PROPERTIES, INC.




                                                        Nov 30, 2013

                              NOTICE OF ACCEPTANCE UNDER SECTION 8

The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the
Trademark Act, 15 U.S.C. §1058. The Section 8 declaration is accepted.



                     NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9

The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15
U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated
from the registration date, unless canceled by an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
049




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




           REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between
every 9th and 10th-year period, calculated from the registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of
an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE


                                                                                                                     JDPI002600
       Case 2:14-cv-02057-SMM                  Document 224-8              Filed 10/19/17          Page 17 of 215

REGISTRANT SHOULD CONTACT THE USPTO ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN
ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=71634575.
NOTE: This notice will only be available on-line the next business day after receipt of this e-mail.




                                                                                                                    JDPI002601
          Case 2:14-cv-02057-SMM                 Document 224-8     Filed 10/19/17    Page 18 of 215


PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 09/30/2014)


        Combined Declaration of Use and/or Excusable
 Nonuse/Application for Renewal of Registration of a Mark under
                         Sections 8 & 9


                                     The table below presents the data as entered.

                             Input Field                                 Entered
         REGISTRATION NUMBER                        0582789
         REGISTRATION DATE                          11/24/1953
         SERIAL NUMBER                              71634575
         MARK SECTION
         MARK                                       JACK DANIEL'S (stylized and/or with design)
         ATTORNEY SECTION (current)
         NAME                                       DAVID S GOODER
         FIRM NAME                                  JACK DANIEL'S PROPERTIES INC
         STREET                                     4040 CIVIC CTR DR STE 528
         CITY                                       SAN RAFAEL
         STATE                                      California
         POSTAL CODE                                94903
         COUNTRY                                    United States
         PHONE                                      415 446 5225
         FAX                                        415 446 5230
         EMAIL                                      david_gooder@jdpi.com
         AUTHORIZED TO COMMUNICATE
         VIA E-MAIL
                                                    Yes

         ATTORNEY SECTION (proposed)
         NAME                                       DAVID S GOODER
         FIRM NAME                                  JACK DANIEL'S PROPERTIES INC
         STREET                                     4040 CIVIC CTR DR STE 528
         CITY                                       SAN RAFAEL

                                                                                                  JDPI002602
Case 2:14-cv-02057-SMM    Document 224-8     Filed 10/19/17   Page 19 of 215


STATE                        California
POSTAL CODE                  94903
COUNTRY                      United States
PHONE                        415 446 5225
FAX                          415 446 5230
EMAIL                        jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                             Yes

DOCKET/REFERENCE NUMBER      81023739
CORRESPONDENCE SECTION (current)
NAME                         DAVID S GOODER
FIRM NAME                    JACK DANIEL'S PROPERTIES INC
STREET                       4040 CIVIC CTR DR STE 528
CITY                         SAN RAFAEL
STATE                        California
POSTAL CODE                  94903
COUNTRY                      United States
PHONE                        415 446 5225
FAX                          415 446 5230
EMAIL                        david_gooder@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                             Yes

CORRESPONDENCE SECTION (proposed)
NAME                         DAVID S GOODER
FIRM NAME                    JACK DANIEL'S PROPERTIES INC
STREET                       4040 CIVIC CTR DR STE 528
CITY                         SAN RAFAEL
STATE                        California
POSTAL CODE                  94903
COUNTRY                      United States
PHONE                        415 446 5225


                                                                         JDPI002603
Case 2:14-cv-02057-SMM     Document 224-8       Filed 10/19/17      Page 20 of 215

FAX                           415 446 5230
EMAIL                         jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                              Yes

DOCKET/REFERENCE NUMBER       81023739
GOODS AND/OR SERVICES SECTION
U.S. CLASS                    049
GOODS OR SERVICES             WHISKEY
                              \\TICRS\EXPORT16\IMAGEOUT
SPECIMEN FILE NAME(S)
                              16\716\345\71634575\xml1\ S890002.JPG

                              Digital image of a bottle of the product containing the
SPECIMEN DESCRIPTION
                              goods clearly showing the mark
OWNER SECTION (current)
NAME                          JACK DANIEL'S PROPERTIES, INC.
STREET                        4040 CIVIC CENTER DRIVE
CITY                          SAN RAFAEL
STATE                         California
ZIP/POSTAL CODE               94903
COUNTRY                       United States
OWNER SECTION (proposed)
NAME                          JACK DANIEL'S PROPERTIES, INC.
STREET                        4040 Civic Center Drive, Suite 528
CITY                          SAN RAFAEL
STATE                         California
ZIP/POSTAL CODE               94903
COUNTRY                       United States
PHONE                         4154465225
FAX                           415-446-5230
EMAIL                         jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                              Yes

LEGAL ENTITY SECTION (current)
TYPE

                                                                                   JDPI002604
Case 2:14-cv-02057-SMM     Document 224-8       Filed 10/19/17   Page 21 of 215

TYPE                          corporation
STATE/COUNTRY OF
INCORPORATION
                              Delaware

PAYMENT SECTION
NUMBER OF CLASSES             1
NUMBER OF CLASSES PAID        1
SUBTOTAL AMOUNT               500
TOTAL FEE PAID                500
SIGNATURE SECTION
SIGNATURE                     //David S. Gooder//
SIGNATORY'S NAME              David S. Gooder
SIGNATORY'S POSITION          Chief Trademark Counsel
DATE SIGNED                   11/12/2013
SIGNATORY'S PHONE NUMBER      415-446-5225
PAYMENT METHOD                DA
                           FILING INFORMATION
SUBMIT DATE                   Tue Nov 12 14:22:49 EST 2013
                              USPTO/S08N09-38.88.175.58
                              -20131112142249068896-058
                              2789-500ee6c62a7a9cb662ac
TEAS STAMP
                              a4e862ccbf4915d71d2cd5a55
                              b64dae193718dfa6c0e0-DA-7
                              74-20131112141653815464




                                                                            JDPI002605
          Case 2:14-cv-02057-SMM        Document 224-8         Filed 10/19/17      Page 22 of 215

PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 09/30/2014)




Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of
                  Registration of a Mark under Sections 8 & 9
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 0582789
REGISTRATION DATE: 11/24/1953

MARK: (Stylized and/or with Design, JACK DANIEL'S)

The owner, JACK DANIEL'S PROPERTIES, INC., a corporation of Delaware, having an address of
     4040 Civic Center Drive, Suite 528
     SAN RAFAEL, California 94903
     United States
is filing a Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of
Registration of a Mark under Sections 8 & 9.

For U.S. Class 049, the mark is in use in commerce on or in connection with all goods or services listed in
the existing registration for this specific class: WHISKEY ; or, the owner is making the listed excusable
nonuse claim.

The owner is submitting one(or more) specimen(s) showing the mark as used in commerce on or in
connection with any item in this class, consisting of a(n) Digital image of a bottle of the product
containing the goods clearly showing the mark.
Specimen File1
The registrant's current Attorney Information: DAVID S GOODER of JACK DANIEL'S PROPERTIES
INC
   4040 CIVIC CTR DR STE 528
   SAN RAFAEL, California (CA) 94903
   United States


The registrant's proposed Attorney Information: DAVID S GOODER of JACK DANIEL'S
PROPERTIES INC
   4040 CIVIC CTR DR STE 528
   SAN RAFAEL, California (CA) 94903
   United States
The docket/reference number is 81023739.


The phone number is 415 446 5225.

The fax number is 415 446 5230.

The email address is jdpilegal@jdpi.com.


                                                                                                 JDPI002606
      Case 2:14-cv-02057-SMM            Document 224-8         Filed 10/19/17      Page 23 of 215


The registrant's current Correspondence Information: DAVID S GOODER of JACK DANIEL'S
PROPERTIES INC
   4040 CIVIC CTR DR STE 528
   SAN RAFAEL, California (CA) 94903
   United States


The registrant's proposed Correspondence Information: DAVID S GOODER of JACK DANIEL'S
PROPERTIES INC
   4040 CIVIC CTR DR STE 528
   SAN RAFAEL, California (CA) 94903
   United States
The docket/reference number is 81023739.


The phone number is 415 446 5225.

The fax number is 415 446 5230.

The email address is jdpilegal@jdpi.com.

A fee payment in the amount of $500 will be submitted with the form, representing payment for 1
class(es), plus any additional grace period fee, if necessary.

                                               Declaration


Section 8: Declaration of Use and/or Excusable Nonuse in Commerce
Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in
connection with the goods and/or services identified above, as evidenced by the attached specimen(s)
showing the mark as used in commerce.


The undersigned being hereby warned that willful false statements and the like are punishable by fine or
imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements and the like
may jeopardize the validity of this document, declares that he/she is properly authorized to execute this
document on behalf of the Owner; and all statements made of his/her own knowledge are true and that all
statements made on information and belief are believed to be true.

Section 9: Application for Renewal
The registrant requests that the registration be renewed for the goods/services identified above.


Signature: //David S. Gooder//    Date: 11/12/2013
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel
Signatory's Phone Number: 415-446-5225

Mailing Address (current):
 JACK DANIEL'S PROPERTIES INC

                                                                                                    JDPI002607
      Case 2:14-cv-02057-SMM       Document 224-8      Filed 10/19/17   Page 24 of 215


 4040 CIVIC CTR DR STE 528
 SAN RAFAEL, California 94903

Mailing Address (proposed):
 JACK DANIEL'S PROPERTIES INC
 4040 CIVIC CTR DR STE 528
 SAN RAFAEL, California 94903

Serial Number: 71634575
Internet Transmission Date: Tue Nov 12 14:22:49 EST 2013
TEAS Stamp: USPTO/S08N09-38.88.175.58-20131112142249
068896-0582789-500ee6c62a7a9cb662aca4e86
2ccbf4915d71d2cd5a55b64dae193718dfa6c0e0
-DA-774-20131112141653815464




                                                                                   JDPI002608
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 25 of 215




                                                                      JDPI002609
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 26 of 215




                                                                      JDPI002610
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 27 of 215




                                                                      JDPI002611
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 28 of 215




                                                                      JDPI002612
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 29 of 215




                                                                      JDPI002613
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 30 of 215




                                                                      JDPI002614
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 31 of 215




                                                                      JDPI002615
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 32 of 215




                                                                      JDPI002616
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 33 of 215




                                                                      JDPI002617
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 34 of 215




                                                                      JDPI002618
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 35 of 215




                                                                      JDPI002619
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 36 of 215




                                                                      JDPI002620
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 37 of 215




                                                                      JDPI002621
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 38 of 215




                                                                      JDPI002622
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 39 of 215




                                                                      JDPI002623
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 40 of 215




                                                                      JDPI002624
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 41 of 215




                                                                      JDPI002625
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 42 of 215




                                                                      JDPI002626
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 43 of 215




                                                                      JDPI002627
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 44 of 215




                                                                      JDPI002628
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 45 of 215




                                                                      JDPI002629
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 46 of 215




                                                                      JDPI002630
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 47 of 215




                                                                      JDPI002631
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 48 of 215




                                                                      JDPI002632
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 49 of 215




                                                                      JDPI002633
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 50 of 215




                                                                      JDPI002634
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 51 of 215




                                                                      JDPI002635
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 52 of 215




                                                                      JDPI002636
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 53 of 215




                                                                      JDPI002637
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 54 of 215




                                                                      JDPI002638
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 55 of 215




                                                                      JDPI002639
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 56 of 215




                                                                      JDPI002640
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 57 of 215




                                                                      JDPI002641
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 58 of 215




                                                                      JDPI002642
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 59 of 215




                                                                      JDPI002643
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 60 of 215




                                                                      JDPI002644
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 61 of 215




                                                                      JDPI002645
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 62 of 215




                                                                      JDPI002646
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 63 of 215




                                                                      JDPI002647
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 64 of 215




                                                                      JDPI002648
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 65 of 215




                                                                      JDPI002649
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 66 of 215




                                                                      JDPI002650
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 67 of 215




                                                                      JDPI002651
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 68 of 215




                                                                      JDPI002652
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 69 of 215




                                                                      JDPI002653
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 70 of 215




                                                                      JDPI002654
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 71 of 215




                                                                      JDPI002655
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 72 of 215




                                                                      JDPI002656
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 73 of 215




                                                                      JDPI002657
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 74 of 215




                                                                      JDPI002658
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 75 of 215




                                                                      JDPI002659
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 76 of 215




                                                                      JDPI002660
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 77 of 215




                                                                      JDPI002661
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 78 of 215




                                                                      JDPI002662
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 79 of 215




                                                                      JDPI002663
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 80 of 215




                                                                      JDPI002664
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 81 of 215




                                                                      JDPI002665
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 82 of 215




                                                                      JDPI002666
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 83 of 215




                                                                      JDPI002667
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 84 of 215




                                                                      JDPI002668
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 85 of 215




                                                                      JDPI002669
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 86 of 215




                                                                      JDPI002670
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 87 of 215




                                                                      JDPI002671
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 88 of 215




                                                                      JDPI002672
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 89 of 215




                                                                      JDPI002673
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 90 of 215




                                                                      JDPI002674
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 91 of 215




                                                                      JDPI002675
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 92 of 215




                                                                      JDPI002676
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 93 of 215




                                                                      JDPI002677
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 94 of 215




                                                                      JDPI002678
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 95 of 215




                                                                      JDPI002679
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 96 of 215




                                                                      JDPI002680
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 97 of 215




                                                                      JDPI002681
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 98 of 215




                                                                      JDPI002682
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 99 of 215




                                                                      JDPI002683
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 100 of 215




                                                                      JDPI002684
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 101 of 215




                                                                      JDPI002685
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 102 of 215




                                                                      JDPI002686
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 103 of 215




                                                                      JDPI002687
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 104 of 215




                                                                      JDPI002688
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 105 of 215




                                                                      JDPI002689
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 106 of 215




                                                                      JDPI002690
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 107 of 215




                                                                      JDPI002691
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 108 of 215




                                                                      JDPI002692
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 109 of 215




                                                                      JDPI002693
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 110 of 215




                                                                      JDPI002694
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 111 of 215




                                                                      JDPI002695
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 112 of 215




                                                                      JDPI002696
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 113 of 215




                                                                      JDPI002697
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 114 of 215




                                                                      JDPI002698
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 115 of 215




                                                                      JDPI002699
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 116 of 215




                                                                      JDPI002700
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 117 of 215




                                                                      JDPI002701
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 118 of 215




                                                                      JDPI002702
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 119 of 215




                                                                      JDPI002703
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 120 of 215




                                                                      JDPI002704
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 121 of 215




                                                                      JDPI002705
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 122 of 215




                                                                      JDPI002706
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 123 of 215




                                                                      JDPI002707
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 124 of 215




                                                                      JDPI002708
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 125 of 215




                                                                      JDPI002709
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 126 of 215




                                                                      JDPI002710
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 127 of 215




                                                                      JDPI002711
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 128 of 215




                                                                      JDPI002712
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 129 of 215




                                                                      JDPI002713
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 130 of 215




                                                                      JDPI002714
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 131 of 215




                                                                      JDPI002715
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 132 of 215




                                                                      JDPI002716
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 133 of 215




                                                                      JDPI002717
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 134 of 215




                                                                      JDPI002718
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 135 of 215




                                                                      JDPI002719
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 136 of 215




                                                                      JDPI002720
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 137 of 215




                                                                      JDPI002721
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 138 of 215




                                                                      JDPI002722
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 139 of 215




                                                                      JDPI002723
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 140 of 215




                                                                      JDPI002724
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 141 of 215




                                                                      JDPI002725
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 142 of 215




                                                                      JDPI002726
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 143 of 215




                                                                      JDPI002727
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 144 of 215




                                                                      JDPI002728
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 145 of 215




                                                                      JDPI002729
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 146 of 215




                                                                      JDPI002730
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 147 of 215




                                                                      JDPI002731
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 148 of 215




                                                                      JDPI002732
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 149 of 215




                                                                      JDPI002733
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 150 of 215




                                                                      JDPI002734
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 151 of 215




                                                                      JDPI002735
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 152 of 215




                                                                      JDPI002736
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 153 of 215




                                                                      JDPI002737
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 154 of 215




                                                                      JDPI002738
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 155 of 215




                                                                      JDPI002739
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 156 of 215




                                                                      JDPI002740
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 157 of 215




                                                                      JDPI002741
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 158 of 215




                                                                      JDPI002742
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 159 of 215




                                                                      JDPI002743
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 160 of 215




                                                                      JDPI002744
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 161 of 215




                                                                      JDPI002745
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 162 of 215




                                                                      JDPI002746
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 163 of 215




                                                                      JDPI002747
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 164 of 215




                                                                      JDPI002748
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 165 of 215




                                                                      JDPI002749
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 166 of 215




                                                                      JDPI002750
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 167 of 215




                                                                      JDPI002751
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 168 of 215




                                                                      JDPI002752
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 169 of 215




                                                                      JDPI002753
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 170 of 215




                                                                      JDPI002754
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 171 of 215




                                                                      JDPI002755
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 172 of 215




                                                                      JDPI002756
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 173 of 215




                                                                      JDPI002757
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 174 of 215




                                                                      JDPI002758
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 175 of 215




                                                                      JDPI002759
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 176 of 215




                                                                      JDPI002760
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 177 of 215




                                                                      JDPI002761
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 178 of 215




                                                                      JDPI002762
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 179 of 215




                                                                      JDPI002763
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 180 of 215




                                                                      JDPI002764
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 181 of 215




                                                                      JDPI002765
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 182 of 215




                                                                      JDPI002766
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 183 of 215




                                                                      JDPI002767
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 184 of 215




                                                                      JDPI002768
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 185 of 215




                                                                      JDPI002769
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 186 of 215




                                                                      JDPI002770
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 187 of 215




                                                                      JDPI002771
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 188 of 215




                                                                      JDPI002772
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 189 of 215




                                                                      JDPI002773
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 190 of 215




                                                                      JDPI002774
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 191 of 215




                                                                      JDPI002775
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 192 of 215




                                                                      JDPI002776
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 193 of 215




                                                                      JDPI002777
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 194 of 215




                                                                      JDPI002778
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 195 of 215




                                                                      JDPI002779
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 196 of 215




                                                                      JDPI002780
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 197 of 215




                                                                      JDPI002781
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 198 of 215




                                                                      JDPI002782
     Case 2:14-cv-02057-SMM              Document 224-8                 Filed 10/19/17   Page 199 of 215




                                                                                         Commissioner for Trademarks
                                                                                                    2900 Crystal Drive
                                                                                           Arlington, VA 22202-3514
                                                                                                       www.uspto.gov


REGISTRATION NO: 0582789    SERIAL NO: 71/634575 MAILING DATE: 10/06/2003
REGISTRATION DATE: 11/24/1953
MARK: JACK DANIEL'S
REGISTRATION OWNER: JACK DANIEL'S PROPERTIES, INC.

CORRESPONDENCE ADDRESS:

DAVID S. GOODER
JACK DANIEL'S PROPERTIES, INC.
4040 CIVIC CENTER DRIVE, SUITE 528
SAN RAFAEL CA 94903



                           NOTICE OF ACCEPTANCE
                                            15 U.S.C. Sec. 1058(a)(3)


THE COMBINED AFFIDAVIT AND RENEWAL APPLICATION FILED FOR THE ABOVE-IDENTIFIED REGISTRATION
MEETS THE REQUIREMENTS OF SECTION 8 OF THE TRADEMARK ACT, 15 U.S.C. Sec. 1058.

ACCORDINGLY, THE SECTION 8 AFFIDAVIT IS ACCEPTED.


                                     ***********************************************

                               NOTICE OF RENEWAL
                                              15 U.S.C. Sec. 1059(a)


THE COMBINED AFFIDAVIT AND RENEWAL APPLICATION FILED FOR THE ABOVE-IDENTIFIED REGISTRATION
MEETS THE REQUIREMENTS OF SECTION 9 OF THE TRADEMARK ACT, 15 U.S.C. Sec. 1059.

ACCORDINGLY, THE REGISTRATION IS RENEWED.


                                     ***********************************************


THE REGISTRATION WILL REMAIN IN FORCE FOR CLASS(ES):
049.


GRANATA, SHARON D
PARALEGAL SPECIALIST
POST-REGISTRATION DIVISION
(703)308-9500


                   PLEASE SEE THE REVERSE SIDE OF THIS NOTICE FOR INFORMATION
                   CONCERNING REQUIREMENTS FOR MAINTAINING THIS REGISTRATION
                                           ORIGINAL




                                                                                                          JDPI002783
      Case 2:14-cv-02057-SMM                      Document 224-8               Filed 10/19/17            Page 200 of 215




REQUIREMENTS FOR MAINTAINING A FEDERAL TRADEMARK REGISTRATION

I) SECTION 8: AFFIDAVIT OF CONTINUED USE

The registration shall remain in force for 10 years, except that the registration shall be canceled for failure to file an Affidavit of
Continued Use under Section 8 of the Trademark Act, 15 U.S.C. Sec. 1058, at the end of each successive 10-year period
following the date of registration.

Failure to file the Section 8 Affidavit will result in the cancellation of the registration.



II) SECTION 9: APPLICATION FOR RENEWAL

The registration shall remain in force for 10 years, subject to the provisions of Section 8, except that the registration shall
expire for failure to file an Application for Renewal under Section 9 of the Trademark Act, 15 U.S.C. Sec. 1059, at the end of
each successive 10-year period following the date of registration.

Failure to file the Application for Renewal will result in the expiration of the registration.




NO FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS WILL BE SENT TO THE REGISTRANT BY THE
PATENT AND TRADEMARK OFFICE. IT IS RECOMMENDED THAT THE REGISTRANT CONTACT THE PATENT AND
TRADEMARK OFFICE APPROXIMATELY ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN
ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.




                                                                                                                            JDPI002784
         Case 2:14-cv-02057-SMM                 Document 224-8       Filed 10/19/17      Page 201 of 215


PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 10/31/2008)


    Combined Declaration of Use In Commerce & Application For
      Renewal of Registration of A Mark Under Sections 8 & 9


                                     The table below presents the data as entered.

                             Input Field                                    Entered
         REGISTRATION NUMBER                        0582789
         REGISTRATION DATE                          11/24/1953
         SERIAL NUMBER                              71634575
         MARK SECTION
         MARK                                       JACK DANIEL'S (stylized and/or with design)
         OWNER SECTION (current)
                                                    JACK DANIEL DISTILLERY, LEM MOTLOW,
         NAME
                                                    PROP., INC.
         CITY                                       LYNCHBURG
         STATE                                      TN
         ZIP/POSTAL CODE                            37352
         COUNTRY                                    US
         OWNER SECTION (proposed)
                                                    Jack Daniel's Properties, Inc. (by assignment
         NAME
                                                    Reel/Frame 1766/0385, page 5)
         STREET                                     4040 Civic Center Drive, Suite 528
         CITY                                       San Rafael
         STATE                                      CA
         ZIP/POSTAL CODE                            94903
         COUNTRY                                    US
         PHONE                                      415 446 5225
         FAX                                        415 446 5230
         EMAIL                                      david_gooder@jdpi.com
         ATTORNEY SECTION

                                                                                                    JDPI002785
Case 2:14-cv-02057-SMM        Document 224-8       Filed 10/19/17     Page 202 of 215


NAME                             David S. Gooder
FIRM NAME                        Jack Daniel's Properties, Inc.
STREET                           4040 Civic Center Drive, Suite 528
CITY                             San Rafael
STATE                            CA
ZIP/POSTAL CODE                  94903
COUNTRY                          USA
PHONE                            415 446 5225
FAX                              415 446 5230
EMAIL                            david_gooder@jdpi.com
AUTHORIZED TO COMMUNICATE VIA
E-MAIL
                                 Yes

DOCKET NUMBERS                   0021
OTHER APPOINTED ATTORNEY(S)      Christopher C. Larkin
DESIGN MARK FILE NAME(S)         http://tess2.uspto.gov/we baka/images/71634575.gif

GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS              033
KEEP EXISTING GOODS AND/OR
SERVICES
                                 YES

                                 \\ticrs\EXPORT5\IMAGEOUT5
SPECIMEN FILE NAME(S)
                                 \716\345\71634575\xml1\S8 90002.JPG

                                 Digital photograph of the bottle containing the goods
SPECIMEN DESCRIPTION
                                 and clearly showing the mark
PAYMENT SECTION
NUMBER OF CLASSES                1
NUMBER OF CLASSES PAID           1
SUBTOTAL AMOUNT                  500
TOTAL AMOUNT                     500
SIGNATURE SECTION
SIGNATURE                        /David S. Gooder/
SIGNATORY NAME                   David S. Gooder
SIGNATORY DATE                   07/14/2003


                                                                                    JDPI002786
Case 2:14-cv-02057-SMM   Document 224-8    Filed 10/19/17     Page 203 of 215

SIGNATORY POSITION          Vice President and Chief Trademark Counsel
FILING INFORMATION
SUBMIT DATE                 Mon Jul 14 16:54:16 EDT 2003
                            USPTO/S08N09-121541005-20
                            030714165416902036-058278
TEAS STAMP                  9-200476824ef6533c787f498
                            e4b4b35017b2DA276-2003071
                            4164821262234




                                                                         JDPI002787
         Case 2:14-cv-02057-SMM         Document 224-8        Filed 10/19/17      Page 204 of 215

PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 10/31/2008)




     Combined Declaration of Use In Commerce & Application For Renewal of
                 Registration of A Mark Under Sections 8 & 9
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 0582789
REGISTRATION DATE: 11/24/1953

MARK: JACK DANIEL'S (stylized and/or with design)

The owner, Jack Daniel's Properties, Inc. (by assignment Reel/Frame 1766/0385, page 5), residing at 4040
Civic Center Drive, Suite 528, San Rafael, CA US 94903, is using the mark in commerce on or in
connection with the goods and /or services as follows:

For International Class 033, the owner is using or is using through a related company the mark in
commerce on or in connection with all goods and/or services listed in the existing registration.

The owner is submitting one specimen for each class showing the mark as used in commerce on or in
connection with any item in the class of listed goods and/or services , consisting of a(n) Digital
photograph of the bottle containing the goods and clearly showing the mark.
Specimen-1

The registrant hereby appoints David S. Gooder and Christopher C. Larkin of Jack Daniel's Properties,
Inc., 4040 Civic Center Drive, Suite 528, San Rafael, CA USA 94903 to submit this Combined
Declaration of Use In Commerce & Application For Renewal of Registration of A Mark Under Sections 8
& 9 on behalf of the registrant. The attorney docket/reference number is 0021.

A fee payment in the amount of $500 will be submitted with the form, representing payment for 1
class(es), plus any additional grace period fee, if necessary.

                                               Declaration


Section 8: Declaration of Use in Commerce
The owner is using or is using through a related company the mark in commerce on or in connection with
the goods/services identified above, as evidenced by the attached specimen(s) showing the mark as used in
commerce.

Section 9: Application for Renewal
The registrant requests that the registration be renewed for the goods and/or services identified above.

The undersigned being hereby warned that willful false statements and the like are punishable by fine or
imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements and the like
may jeopardize the validity of this document, declares that he/she is properly authorized to execute this
document on behalf of the Owner; and all statements made of his/her own knowledge are true and that all


                                                                                                 JDPI002788
      Case 2:14-cv-02057-SMM           Document 224-8        Filed 10/19/17   Page 205 of 215


statements made on information and belief are believed to be true.


Signature: /David S. Gooder/     Date: 07/14/2003
Signatory's Name: David S. Gooder
Signatory's Position: Vice President and Chief Trademark Counsel

Mailing Address:
 Jack Daniel's Properties, Inc.
 4040 Civic Center Drive, Suite 528
 San Rafael, CA 94903

RAM Sale Number: 276
RAM Accounting Date: 07/15/2003

Serial Number: 71634575
Internet Transmission Date: Mon Jul 14 16:54:16 EDT 2003
TEAS Stamp: USPTO/S08N09-121541005-20030714165416902
036-0582789-200476824ef6533c787f498e4b4b
35017b2DA276-20030714164821262234




                                                                                         JDPI002789
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 206 of 215




                                                                      JDPI002790
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 207 of 215




                                                                      JDPI002791
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 208 of 215




                                                                      JDPI002792
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 209 of 215




                                                                      JDPI002793
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 210 of 215




                                                                      JDPI002794
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 211 of 215




                                                                      JDPI002795
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 212 of 215




                                                                      JDPI002796
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 213 of 215




                                                                      JDPI002797
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 214 of 215




                                                                      JDPI002798
Case 2:14-cv-02057-SMM   Document 224-8   Filed 10/19/17   Page 215 of 215




                                                                      JDPI002799
